Case 2:24-cv-06089-JMA-AYS   Document 1-2   Filed 08/30/24   Page 1 of 4 PageID #:
                                     11




                       EXHIBIT B
FILED: NASSAU COUNTY CLERK 05/03/2024 04:53 PM                                                 INDEX NO. 607805/2024
         Case
NYSCEF DOC.   2:24-cv-06089-JMA-AYS
            NO. 1                             Document 1-2          Filed 08/30/24    Page 2 of 4 NYSCEF:
                                                                                       RECEIVED   PageID #:
                                                                                                          05/03/2024
                                                      12



         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NASSAU

          SDN LIMITED and STEVEN NERAYOFF,

                                             Plaintiffs,                     Index No. _______________

                                 v.                                          SUMMONS WITH
                                                                             NOTICE
          IOV LABS LIMITED, RIF LABS LIMITED, RSK
          LABS LIMITED, DIEGO GUTIERREZ ZALDIVAR,                            PLAINTIFFS DESIGNATE
          and ALEJANDRO MARIA ABERG COBO a/k/a ALEX                          NASSAU COUNTY AS THE
          COBO,                                                              PLACE OF TRIAL

                                             Defendants.


         TO THE ABOVE-NAMED DEFENDANTS:

                YOU ARE HEREBY SUMMONED to appear in this action by serving a notice of

         appearance on Plaintiffs’ attorneys within twenty (20) days after the service of this summons,

         exclusive of the day of service, or within thirty (30) days after the service is complete if the

         summons is not personally delivered to you within the State of New York.

                Venue is properly before this Court pursuant to CPLR § 503(a) because Plaintiff Nerayoff

         resides in this County. Nassau County is designated as the place of trial. Jurisdiction over

         Defendants, and each of them, is proper pursuant to CPLR §§ 301 and 302 because Defendants (1)

         transacted business within the state or contracted anywhere to supply goods or services in the state;

         (2) committed tortious acts within the state; and (3) committed tortious acts without the state

         causing injury within the state.

                TAKE NOTICE THAT this is an action for fraud, aiding-and-abetting fraud, and

         rescission based upon Defendants’ conduct in connection with the unregistered offering and sale

         of RIF tokens. To induce Plaintiffs to purchase Defendants’ RIF tokens, Defendants made

         numerous knowing misrepresentations of material fact, as well as material omissions, that




                                                           1 of 3
FILED: NASSAU COUNTY CLERK 05/03/2024 04:53 PM                                                  INDEX NO. 607805/2024
         Case
NYSCEF DOC.   2:24-cv-06089-JMA-AYS
            NO. 1                             Document 1-2        Filed 08/30/24      Page 3 of 4 NYSCEF:
                                                                                       RECEIVED   PageID #:
                                                                                                          05/03/2024
                                                      13



         Plaintiffs justifiably relied upon to their detriment in making their investments. More particularly,

         at meetings with Plaintiffs, both within and outside of New York, Defendants falsely represented

         that Defendants’ RIF blockchain was a second-layer blockchain solution that would provide

         Ethereum-style smart contract capabilities and other functionality to the Bitcoin blockchain. At

         the time Defendants made these representations, upon which Plaintiffs reasonably relied,

         Defendants knew that the RIF blockchain had no such functionality, no such functionality had ever

         been developed, and that they had no plans for such functionality. Following the launch of the

         RIF blockchain, Defendants’ fraud was revealed and the value of Plaintiffs’ investments declined

         over 99%. Plaintiffs seek the rescission of their investments and the return of their invested Bitcoin

         or, in the alternative, monetary damages at the date of judgment in an amount not less than $100

         million, plus interest thereon.

                TAKE FURTHER NOTICE THAT in case of your failure to appear, judgment will be

         sought and may be taken against you in the form of a rescission award or, in the alternative, in an

         amount of monetary damages at the date of judgment not less than $100 million, plus interest, and

         the costs and disbursements of this action as the Court may award.

         Dated: New York, New York
                May 3, 2024
                                                        LOEB & LOEB LLP


                                                        By: 
                                                           John A. Piskora (jpiskora@loeb.com)
                                                           David A. Forrest (dforrest@loeb.com)
                                                           345 Park Avenue
                                                           New York, NY 10154
                                                           Tel: (212) 407-4000

                                                             
                                                            




                                                           2

                                                        2 of 3
FILED: NASSAU COUNTY CLERK 05/03/2024 04:53 PM                                 INDEX NO. 607805/2024
         Case
NYSCEF DOC.   2:24-cv-06089-JMA-AYS
            NO. 1                       Document 1-2   Filed 08/30/24   Page 4 of 4 NYSCEF:
                                                                         RECEIVED   PageID #:
                                                                                            05/03/2024
                                                14



         To: IOV LABS LIMITED
             Suite 23 Portland House
             Glacis Road
             Gibraltar GX11 1AA

             RIF LABS LIMITED
             Suite 23 Portland House
             Glacis Road
             Gibraltar GX11 1AA

             RSK LABS LIMITED
             BVI 1895440
             Morgan & Morgan Building
             Pasea Estate
             Road Town, Tortola
             British Virgin Islands

             DIEGO GUTIERREZ ZALDIVAR
             2028 4 R Vidt
             Buenos Aires C1425
             Argentina

             ALEJANDRO MARIA ABERG COBO a/k/a Alex Cobo
             600 Grapetree Drive, Apt. 10GN
             Key Biscayne, FL 33149-2707

             Camino De Los Horneros 220
             Lomas De La Tahoma Lote 346
             14000 Colonia Nicolich
             Canelones Uruguay




                                                 3

                                              3 of 3
